Case: 1:15-cv-01046-SO Doc #: 341 Filed: 01/26/21 1 of 1. PageID #: 7268




                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION



UNITED STATES OF AMERICA,                     )       Case No: 1:15 CV 1046
                                              )
       Plaintiff                              )       JUDGE SOLOMON OLIVER, JR.
                                              )
         v.                                   )
                                              )
CITY OF CLEVELAND,                            )
                                              )
       Defendant                              )       STATUS CONFERENCE ORDER



       The court will hold a status conference on the record with counsel for the parties in the within

case on February 24, 2021, at 3:00 p.m., to discuss matters including the City of Cleveland's

Ninth Status Report (see ECF No. 314), and the status of the Monitor’s review of use of force

during recent protest activity, (see ECF No. 329). The conference will be held remotely given the

court’s General Order 2020-08-5         and    concerns    regarding    the    ongoing     COVID-19

pandemic. Video conference information shall issue in a separate Order. The parties, counsel for

the parties, and the Monitor shall be in attendance. Counsel for the parties and the Monitor shall be

prepared to discuss progress to date under the Consent Decree, as well as any outstanding issues.




       IT IS SO ORDERED.


                                                      /s/ SOLOMON OLIVER, JR.
                                                      UNITED STATES DISTRICT JUDGE


January 26, 2020
